
672 S.E.2d 685 (2009)
CITY OF ASHEVILLE
v.
STATE of North Carolina and County Of Buncombe, et al.
No. 244P07-2.
Supreme Court of North Carolina.
February 5, 2009.
Robert W. Oast, Jr., Daniel G. Clodfelter, T. Randolph Perkins, Mark A. Nebrig, Charlotte, Jeffrey M. Young, Morrisville, for City of Asheville.
Mark A. Davis, W. Dale Talbert, Special Deputy Attorney Generals, for State of NC.
Robert B. Long, W. Scott Jones, Asheville, for County of Buncombe.
Prior report: ___ N.C.App. ___, 665 S.E.2d 103.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 23rd day of September 2008 in this matter pursuant to G.S. 7A-30, and the motions to dismiss the appeal for lack of substantial constitutional question filed by the Defendant (State of NC *686 and County of Buncombe), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motions to dismiss the appeal is
"Allowed by order of the Court in conference, this the 5th day of February 2009."
Upon consideration of the petition filed on the 23rd day of September 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
TIMMONS-GOODSON, J., recused.
